              Case 1:20-cv-00433-SM Document 1 Filed 04/08/20 Page 1 of 8



                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE


 NATIONWIDE PROPERTY & CASUALTY
 INSURANCE COMPANY
 One Nationwide Plaza
 Columbus, Ohio 43215
 a/s/o Maritza and Chris Bagnall
 91 Mast Road
 Lee, New Hampshire, 03861

                   Plaintiff,

         v.                                       CIVIL ACTION NO.:
                                                  JURY TRIAL DEMANDED
 BROAN-NUTONE, LLC
 926 W. State Street
 Hartford, Wisconsin 53017

 and

 JAKEL MOTORS INCORPORATED
 a/k/a JAKEL INCORPORATED
 201 South Madison Avenue
 Aurora, Missouri 65605

                   Defendants


                                         COMPLAINT
                                            Overview

        Plaintiff, Nationwide Property & Casualty Insurance Company alleges and says that prior

to December 31, 2018, defendant Broan-Nutone (“Broan”) manufactured and sold in interstate

commerce a defective bathroom ventilation exhaust fan and defendant Jakel Motors Incorporated

(“Jakel”) manufactured and sold a defective electric motor component part which was integrated

into the Broan bathroom ventilation exhaust fan. The fan caused a fire at the Bagnall home

resulting in loss and damage to real and personal property. This action seeks recovery for the

damages the defective fan and motor caused.



LEGAL\45545399\1
             Case 1:20-cv-00433-SM Document 1 Filed 04/08/20 Page 2 of 8



                                            THE PARTIES
        1.         Plaintiff, Nationwide Property & Casualty Insurance Company a/s/o Maritza and

Chris Bagnall (“Nationwide”) is an Ohio corporation with its principal place of business located

at One West Nationwide Plaza, Columbus, Ohio and was, at all times material hereto, an insurance

company doing business in the State of New Hampshire.

        2.         At all times material hereto Nationwide was in the insurance business and

provided its property insurance policy number 5128HO374850 to Maritza and Chris Bagnall for

their property located at 91 Mast Road, Lee, New Hampshire (“Subject Property”).

        3.         On December 31, 2018 a fire occurred at the Subject Property causing damage.

As a result of the fire the Bagnalls made a claim on their Nationwide property insurance policy

which Nationwide paid. As a result, and to the extent of their payment to the Bagnalls,

Nationwide is subrogated to the rights of the Bagnalls by contract and law.

        4.         Defendant Broan-Nutone, LLC (“Broan”) is a limited liability company organized

and existing under the laws of the state of Delaware with its principal place of business located at

926 W. State St., Hartford, Wisconsin and, upon information and belief, did business in the state

of New Hampshire and was at all times material hereto in the business of, inter alia, designing,

manufacturing assembling, inspecting, marketing, distributing, and selling consumer products

including bathroom ventilation exhaust fans.

        5.         Defendant Jakel Motors Incorporated a/k/a Jakel Incorporated (“Jakel”) is a

corporation organized and existing under the laws of the state of Wisconsin and was at all times

material hereto engaged in the business of designing, manufacturing, assembling, inspecting,

marketing, distributing, and selling electric motors used in the manufacture of the Broan

bathroom light/ventilation exhaust fan which was installed at the Subject Property.




                                                   2
LEGAL\45545399\1
              Case 1:20-cv-00433-SM Document 1 Filed 04/08/20 Page 3 of 8



                                    JURISDICTION AND VENUE
        6.         This action is commenced pursuant to 28 U.S.C. § 1332, as the parties are citizens

of diverse jurisdictions and the amount in controversy, exclusive of interests and costs, is in

excess of Seventy-Five Thousand dollars ($75,000.00).

        7.         Upon information and belief none of the defendants or their members are citizens

of the states of Ohio or New Hampshire.

        8.         Venue in this action lies in this District pursuant to 28 U.S.C. § 1391, as the loss

occurred in this District and the defendants are subject to personal jurisdiction within this

District.

                                                  FACTS
        9.         At all times material hereto Maritza and Chris Bagnall owned the Subject

Property.

        10.        Prior to December 31, 2018 Broan designed, manufactured, assembled, tested,

inspected, marketed, distributed, sold and placed into the stream of commerce consumer

products including bathroom ventilation exhaust fans.

        11.        Prior to December 31, 2018 a Broan model 763RLN bathroom ventilation exhaust

fan (the “Fan”) was installed in the second floor bathroom of the Subject Property.

        12.        Integrated into and an essential part of the Fan was a Jakel electric fan motor

model number J238-050-5354S (the “Motor”). Jakel designed, inspected, tested, manufactured,

distributed, marketed, and sold the defective Motor.

        13.        Prior to December 31, 2018 the Bagnall family operated the Fan for its intended

purpose without incident

        14.        On or about December 31, 2018 a fire started in the second floor bathroom (the

“Fire”) of the Subject Property and fire, smoke, soot, and water spread to and damaged other

portions of the Subject Property.


                                                     3
LEGAL\45545399\1
              Case 1:20-cv-00433-SM Document 1 Filed 04/08/20 Page 4 of 8




        15.        The December 31, 2018 Fire originated in and was caused by the Fan

manufactured, distributed, and sold by defendant Broan.

        16.        Broan and Jakel placed the Fan into the stream of commerce in an unreasonably

dangerous and defective condition which caused and contributed to the Fire at the Subject

Property.

        17.        Broan and Jakel designed, manufactured, assembled, tested, inspected,

distributed, and sold the defective Fan and Motor. Upon information and belief, the fan and fan’s

motor were defective in that it was, inter alia, equipped with a defectively designed and

manufactured thermal cut off (TCO). The TCO failed to operate properly allowing the fire to

ignite. The motor’s electrical windings were also defective and failed. The motor was an integral

part of the fan and both were defectively designed and manufactured.

        18.        As a direct and proximate result of the Fire, the Bagnalls sustained damage to

their real and personal property in an amount in excess of $700,000.00.

        19.        As a direct and proximate result of the Fire the Bagnalls made a claim on their

Nationwide property insurance policy and Nationwide paid the Bagnalls in excess of

$700,000.00.

        20.        The damage suffered by the Bagnalls was the direct and proximate result of the

failure of the defective Broan and Jakel products.

        21.        To the extent of their payments to the Bagnalls, Nationwide is subrogated by

contract and law to the rights of the Bagnalls.

                                        COUNT I
                             NEGLIGENCE VS. BROAN AND JAKEL
        22.        Plaintiff repeats and incorporates by reference all paragraphs of the complaint as

though each were fully set forth at length herein.




                                                    4
LEGAL\45545399\1
              Case 1:20-cv-00433-SM Document 1 Filed 04/08/20 Page 5 of 8




        23.        Broan and Jakel designed, manufactured, assembled, tested, inspected,

distributed, and sold the defective Fan and Motor.

        24.        Broan and Jakel owed a duty of reasonable care to the Bagnalls to design,

manufacture, assemble, inspect, test, sell, and distribute products (the Fan and Motor) which

were safe for their intended purpose.

        25.        Broan and Jakel breached their duty of reasonable care.

        26.        The Fire and damage to the Subject Property was the direct and proximate result

of the joint and several negligence, gross negligence, and carelessness of Broan and Jakel in

failing to:

                   (a)    place into the stream of commerce and market a safe and properly
                          functioning defect free Fan and Motor,

                   (b)    test, inspect and ensure that the Fan and Motor were in a safe and
                          merchantable condition before they were placed into the stream of
                          commerce,

                   (c)    insure that the Fan and Motor were safe and fit for their intended purpose
                          and foreseeable use,

                   (d)    to warn, notify and advise the Bagnalls that the Fan and Motor were not
                          safe for their intended use and purpose and were unreasonably dangerous,

                   (e)    to hire, train and supervise competent employees, contractors and
                          component suppliers to design, build, inspect, test, market, sell, distribute,
                          and place into the stream of commerce a Fan and Motor safe for their
                          intended purpose and foreseeable use,

                   (f)    properly design, manufacture, inspect, test, market, sell and distribute the
                          Fan and Motor to insure that they were safe for their intended purpose and
                          foreseeable uses prior to introducing them into the stream of commerce,

                   (g)    take reasonable, adequate precautions to avoid exposing the Bagnalls to an
                          unreasonable risk of harm,

                   (h)    insure that the Fan’s component parts were safe for their intended and
                          foreseeable uses,

                   (i)    to provide adequate warnings and/or instructions.


                                                     5
LEGAL\45545399\1
              Case 1:20-cv-00433-SM Document 1 Filed 04/08/20 Page 6 of 8




        WHEREFORE, Plaintiff, NATIONWIDE PROPERTY & CASUALTY INSURANCE

COMPANY demands judgment against BROAN NUTONE, LLC and JAKEL MOTORS

INCORPORATED jointly and severally for compensatory damages in an amount in excess of

$700,000 the precise amount to be disclosed during discovery and proven at trial together with

prejudgment interest and the costs of prosecuting this action.

                                         COUNT II
                           STRICT LIABILITY VS. BROAN and JAKEL
        27.        Plaintiff repeats and incorporates by reference all paragraphs of the complaint as

though each were fully set forth at length herein.

        28.        In the ordinary course of their businesses, Broan and Jakel were engaged in, inter

alia, designing, testing, inspecting, assembling, manufacturing, selling, and distributing into the

stream of commerce, respectively Broan’s Fan and Jakel’s Motor.

        29.        Defendants’ design and manufacture of the Fan and Motor created a defective

condition that was unreasonably dangerous.

        30.        Defendants failed to warn the Bagnalls that the Fan and Motor were defective and

unreasonably dangerous.

        31.        The unreasonably defective and dangerous conditions existed when the Fan and

Motor left the defendants’ control.

        32.        The Fan and Motor reached the plaintiff without substantial change in the

defective and unreasonably dangerous condition that they left the manufacturers in.

        33.        The Fan and Motor’s unreasonably dangerous condition caused substantial

damage to the Subject Property.

        34.        Upon information and belief neither the Fan nor the Motor was modified, changed

altered or abused by the Bagnalls or other users at the Subject Property prior to the Fire.




                                                    6
LEGAL\45545399\1
              Case 1:20-cv-00433-SM Document 1 Filed 04/08/20 Page 7 of 8




        35.        Broan and Jakel knew or had reason to know that their products would be used by

members of the general public and knew or should have known of the uses, purposes, and

requirements for which the products would be utilized.

        WHEREFORE, Plaintiff, NATIONWIDE PROPERTY & CASUALTY INSURANCE

COMPANY demands judgment against BROAN NUTONE, LLC and JAKEL MOTORS

INCORPORATED jointly and severally for compensatory damages in an amount in excess of

$700,000 the precise amount to be disclosed during discovery and proven at trial together with

prejudgment interest and the costs of prosecuting this action.

                                  COUNT III
               BREACH OF IMPLIED WARRANTIES VS BROAN AND JAKEL
        36.        Plaintiff repeats and incorporates by reference all paragraphs of the complaint as

though each were fully set forth at length herein.

        37.        The Defendants impliedly warranted that the Fan and Motor were merchantable

and fit for their intended purposes.

        38.        Defendants breached their implied warranties of merchantability and fitness for an

intended purpose by placing defective, unreasonably dangerous products, the Fan and Motor,

into the stream of commerce.

        39.        The Bagnalls used the Fan and Motor as intended by the manufacturers.

        40.        The Bagnalls’ damages and the Fire at the Subject Property were the direct and

proximate result of the defendants’ breach of their implied warranties of merchantability and

fitness for an intended purpose.

        WHEREFORE, Plaintiff, NATIONWIDE PROPERTY & CASUALTY INSURANCE

COMPANY demands judgment against BROAN NUTONE, LLC and JAKEL MOTORS

INCORPORATED jointly and severally for compensatory damages in an amount in excess of




                                                    7
LEGAL\45545399\1
              Case 1:20-cv-00433-SM Document 1 Filed 04/08/20 Page 8 of 8




$700,000 the precise amount to be disclosed during discovery and proven at trial together with

prejudgment interest and the costs of prosecuting this action.

                                       JURY TRIAL DEMAND

        41.        Plaintiff requests and demands a trial by jury as to all Counts.

                                                  Respectfully Submitted,

                                                  NATIONWIDE PROPERTY & CASUALTY
                                                  COMPANY

                                                  By its attorneys,

                                                  SHERMAN LAW, PLLC


Date: 04/08/2020
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                                                     8
LEGAL\45545399\1
